Pincwood Medical Center Ma.il ~ (_no subject) Page 1 of 1

Nlichaei O'Conneil <michaei.oconneli@painmd.com>

 

 

(no subject)

4 messages

 

Kait|in Hucison <kaitlin.hudson@painmd.com> Fri, Nov 12, 2010 at 7:48 Al\ll
To: l\/iike O‘Connell i\/iD <michaei.oconnell@painmd.com>

H""\l How are you’? l don't get the chance to talk to you anymore

,___

Sent §rorn my iPhone

 

 

 

Miohael O'Conneii. <michaei.oconneli@painmd.com> Fri, Nov 12, 2010 at 7:52 AM
'i'o: Kaitlin i-iudson <kaitlin.hudson@painmd.com>

l am 'ust fine ngi§ng_on lots of stuff. lnteresting group of empioyees»~s-~)»»

“`C"©“~C has _t_)deenwa_sigDF§Q§UE_LA.“§o..o§§o.lovseelham___ls slowly turn§nLagound. l guess i need tombe_wg,ratejg_l for
oo:o§e*iiieu.i”§“sell\i.og_ig_pe suit generin§myyii§i__i_i;g__w_i;gi;+_;me§~g step

l-§ave been op i\/lt Washir§<_:”;`t“o"n“l‘o'£i?'t?r§n"ee this year, from ?ooi<er`r?i'a"osj l_ions i-lead, Jewel|, and an__n}ount;suc.

tailored taxi iles-emi

 

Kaitiin Hudson <kaitiin.hudson@painmd.oom> Fri, Nov12,2010 at B:i'f ANi
'"l'"o: i\flichael O'Connell <michaei.oconnell@painrnd.corn>

interesting group of employees indeed There are wallet of new peopie that l dori't recognize Always expanding

) ,_.._N..W.`.~nt`_.%_M,_W.“.,i_a.,_”s.

l-§ow‘e the dystonia’? §_a{nm§m:mm__

y “l"hat’s a positive way to look at the COC~ it got rid of the wicked witch. | do think they’re turning around, siowly
\’\l. but surely Terry has gotten a lot betterl He doesn‘t fight even/thing anymore § actually don't mind corning here
these days

You‘ye been up Washlngton 4 times?l Show otfl l didn't do hardiy any hiking this year. lt showsl l‘m i3B !bs.
~i l-laha. |’rn looking forward to snowboarding though l\/ly goal is to be able to go down biacks without scraping by
the seasons end_ You still going to board and not ski anymore?

Sent from my iPhooe
i()uoied text i'tidden]

 

Nlichaei O'Connell <michaei.oconnell@painmd`.com> Fri, Nov 12, 2010 at 8125 ANi
To: Kaitlio ttudson <kaitlin.hudson@pa§omd.com>

Dystonia same, but l havent done any Boto)< in three months So arn winging it. l would say if anything it may be
more controllable now than it was, or i am more used to it

Yeah § did the entire Presidentials thru the summer: F’ierce, l":'isenhower, l\/lonroe` Linoo|n, Ciay,

Jetferson, Adamsi §Vlad§son, and Wash. §.ast weekend did Washington with icel snow, 40mph Winds, 15 degrees
real temp. Had to use crampons whole way. "?tiose Amrnoousoc rocks were sheer ice thomas fell at one point
Boarding ail the way. Neyet going to pussy skiing agini : )

[Ouoted text hiddei‘i§

 

https://mail.goog§e.oomfa/paiamd.com/?ui=Q&ikmAchceeQ73d&vtcw=pt&§carch$iobox&___ 12/15/201 0

